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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

BRYAN C. POPP,                                           §
                                                         §
            Plaintiff,                                   §
                                                         §
v.                                                       §      Civil Action No. 4:22-cv-3477
                                                         §
NEW RESIDENTIAL MORTGAGE, LLC                            §
and LOANCARE, LLC,                                       §
                                                         §
            Defendants.

                         STIPULATION OF DISMISSAL WITHOUT PREJUDICE
                             PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

             NOW COMES Bryan C. Popp (“Plaintiff”) and New Residential Mortgage, LLC and

     Loancare, LLC (“Defendants”) and hereby file this his agreed Stipulation of Dismissal Without

     Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and in support thereof would respectfully

     show unto the Court the following:

             1.      The parties have reached an agreement to fully compromise and settle all claims

     and controversies arising under this civil action and agree that Plaintiff dismiss the above civil

     case, without prejudice, pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii).

             2.      The parties also agree that all costs of court and attorney’s fees incurred shall be

     borne by the party incurring the same.

             WHEREFORE, Plaintiff hereby respectfully request that the Court enter an Order

     dismissing the above civil case, without prejudice, and for such other and further relief to which

     the parties may be justly entitled.




     ______________________________________________________________________________
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                                                Respectfully submitted,


                                                /s/_   Bryan C Popp
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                                                Katy, Texas 77450
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                                                PRO SE PLAINTIFF


                                                AND


                                                /s/ Mark D. Hopkins
                                                Mark D. Hopkins
                                                State Bar No. 00793975
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                                                ATTORNEYS-IN-CHARGE FOR
                                                DEFENDANT




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                               CERTIFICATE OF CONFERENCE

        I hereby certify that on January 10, 2024, I conferred with Danya F. Gladney, counsel for
Defendants, and advised that Defendants are unopposed and in agreement with the foregoing
Stipulation of Dismissal Without Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and
provided permission to affix his electronic signature to the same.



                                                /s/ Bryan C Popp
                                                Bryan C. Popp

                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 1, 2024, a true and correct copy of the foregoing Stipulation
of Dismissal Without Prejudice Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) was filed and served
upon all parties and counsel of record via the Court’s ECF system.


                                                /s/Danya F. Gladney
                                                Danya F. Gladney




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